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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION (DAYTON)

KARA BROWN, for herself and all others: Case No. 3:18-cv-350-WHR

similarly situated
(Judge Walter H. Rice)

Plaintiff,
V.
ZIKS HOME HEALTHCARE STIPULATED CONFIDENTIALITY
SOLUTIONS, LLC, et al. : AND PROTECTIVE ORDER
Defendants. .

 

Pursuant to the parties’ joint request that the Court enter this Order, and their
agreement that the following limitations and restrictions should apply to documents and
information produced for inspection and copying during the course of this litigation (the
“Action”), the Court hereby ORDERS that:

1 Scope. This Protective Order (hereinafter “Protective Order” or “Order’)
shall apply to all documents or other information produced in the course of discovery in
this Action that the producing person or entity (the “Producing Entity”) has designated as
“CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER” or “ATTORNEYS’ EYES
ONLY — SUBJECT TO PROTECTIVE ORDER’ (either a “Confidentiality Designation” or
collectively the “Confidentiality Designations”) pursuant to this Order, including but not
limited to, all initial disclosures, all responses to discovery requests, all deposition
testimony and exhibits, and all materials (including documents or testimony) produced by
non-parties in response to subpoenas issued in connection with this matter, including all

copies, excerpts, and summaries thereof (collectively the “Confidential Information’).

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Zz. Purpose. The purpose of this Protective Order is to protect against the
unnecessary disclosure of Confidential Information.

3: Disclosure Defined. As used herein, “disclosure” or “to disclose” means to
divulge, reveal, describe, summarize, paraphrase, quote, transmit, or otherwise
communicate Confidential Information, and the restrictions contained herein regarding
disclosure of Confidential Information also apply with equal force to any copies, excerpts,
analyses, or summaries of such materials or the information contained therein, as well as
to any pleadings, briefs, exhibits, transcripts or other documents which may be prepared
in connection with this litigation which contain or refer to the Confidential Information or
information contained therein.

4. Designating Material

a. Designating Material As Confidential: Any party, or any third party
subpoenaed by one of the parties, may designate as Confidential and subject to this
Protective Order any documents, testimony, written responses, or other materials
produced in this case if they contain information that the Producing Entity asserts in good
faith is protected from disclosure by statute or common law, including, but not limited to,
confidential personal information, medical or psychiatric information, trade secrets,
personnel records, or such other sensitive commercial information that is not publicly
available. Information that is publicly available may not be designated as Confidential.
The designation of materials as Confidential pursuant to the terms of this Protective Order
does not mean that the document or other material has any status or protection by statute
or otherwise except to the extent and for the purposes of this Order.

b. Designating Material As Attorneys’ Eyes Only. Any party, or any

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third party subpoenaed by one of the parties, may designate as Attorneys’ Eyes Only and
subject to this Protective Order any materials or information that meet the test set forth in
Paragraph 4.a, but as to which the Producing Entity also asserts in good faith that the
information is so competitively sensitive that the receipt of the information by parties to
the litigation could result in competitive harm to the Producing Entity.

5. Form and Timing Of Designation.

a. Documents And Written Materials. The Producing Entity shall
designate any document or other written materials as confidential pursuant to this Order
by marking each page of the material with a stamp setting forth the Confidentiality
Designation, if practical to do so. The person or entity designating the material shall place
the stamp, to the extent possible, in such a manner that it will not interfere with the
legibility of the document. Materials shall be so-designated prior to, or at the time of, their
production or disclosure.

b. Electronically Stored Information (“ESI”): If a production
response includes ESI, the Producing Entity shall make an effort to include within the
electronic files themselves the Confidentiality Designation to the extent practicable. If that
is not practicable, then the Producing Entity shall designate in a transmittal letter or email
to the party to whom the materials are produced (the “Receiving Party”) using a
reasonable identifier (e.g., the Bates range) any portions of the ESI that should be treated
as “CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER,” and any portions of the
ESI that should be treated as ‘ATTORNEYS’ EYES ONLY — SUBJECT TO PROTECTIVE
ORDER.”

Cc: Deposition Testimony. Deposition testimony will be deemed

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confidential only if designated as such when the deposition is taken or within 14 days
after receipt of the deposition transcript. Such designation must indicate which
Confidentiality Designation applies, and must be specific as to the portions of the
transcript and/or any exhibits to which that Confidentiality Designation applies, except that
any exhibit that was marked with a Confidentiality Designation at the time of production,
and which still bears that mark at the time of its use in a deposition, shall be presumed to
fall within the provisions of this Order without further designation.
6. Limitation Of Use.

a. General Protections. All information that has received a
Confidentiality Designation, including all information derived therefrom, shall be used by
any Receiving Party solely for purposes of prosecuting or defending this Action. A
Receiving Party shall not use or disclose the Confidential Information for any other
purpose, including but not limited to any business, commercial, or competitive purpose.
Except as set forth in this Order, a Receiving Party shall not disclose Confidential
Information to any third party. This Order shall not prevent the Producing Entity from using
or disclosing information it has designated as Confidential Information, and that belongs
to the Producing Entity, for any purpose that the Producing Entity deems appropriate,
except that the Producing Entity’s voluntary disclosure of Confidential Information outside
the scope of this Action may impact the protection that this Order would otherwise provide
with regard to such information, once disclosed.

b. Persons To Whom Information Marked “Confidential” May Be
Disclosed. Use of any information, documents, or portions of documents marked

“CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER,” including all information

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derived therefrom, shall be restricted solely to the following persons who agree to be

bound by the terms of this Protective Order, unless additional persons are stipulated by

counsel or authorized by the Court:

i.

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outside counsel of record for the parties, and the administrative staff
of outside counsel's firms;

in-house counsel for the parties, and the administrative staff for each
in-house counsel:

any party to this action who is an individual;

as to any party to this action who is not an individual, every
employee, director, officer, or manager of that party, but only to the
extent necessary to further the interest of the parties in this litigation;

independent consultants or expert witnesses (including partners,
associates and employees of the firm which employs such consultant
or expert) retained by a party or its attorneys for purposes of this
litigation, but only to the extent necessary to further the interest of
the parties in this litigation, and only after such persons have
completed the certification attached hereto as Attachment A,
Acknowledgment of Understanding and Agreement to be Bound;

the Court and its personnel, including, but not limited to, stenographic
reporters regularly employed by the Court and _ stenographic
reporters not regularly employed by the Court who are engaged by
the Court or the parties during the litigation of this action;

the authors and the original recipients of the documents;
any court reporter or videographer reporting a deposition;

employees of copy services, microfilming or database services, trial
support firms, and/or translators who are engaged by the parties
during the litigation of this action;

interviewees, potential witnesses, deponents, hearing or trial
witnesses, and any other person, where counsel for a party to this
action in good faith determines the individual should be provided
access to such information in order for counsel to more effectively
prosecute or defend this action (as long as the disclosure occurs in
the presence of counsel, and copies, duplicates, images, or the like
are not removed or retained by any interviewee, potential witness,
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deponent, or hearing or trial witness), provided, however, that in all
such cases the individual to whom disclosure is to be made has been
informed that the information contained in the disclosed document(s)
is confidential and protected by Court Order, that the individual
understands that he/she is prohibited from disclosing any information
contained in the document(s) to anyone; or
11. | any other person agreed to in writing by the parties.
Prior to being shown any documents produced by another party marked “CONFIDENTIAL
— SUBJECT TO PROTECTIVE ORDER,” any person listed under paragraph 6(b)(3),
6(b)(4), or 6(b)(11) shall be advised that the confidential information is being disclosed
pursuant to and subject to the terms of this Protective Order.
c. Persons To Whom Information Marked “Attorneys’ Eyes Only”
May Be Disclosed. Use of any information, documents, or portions of documents marked
“ATTORNEYS’ EYES ONLY — SUBJECT TO PROTECTIVE ORDER,” including all
information derived therefrom, shall be restricted solely to the following persons who
agree to be bound by the terms of this Protective Order, unless additional persons are

stipulated by counsel or authorized by the Court:

1. outside counsel of record for the parties, and the administrative staff
of outside counsel's firms;

2; one designated representative from in-house counsel for the parties;

3. independent consultants or expert witnesses (including partners,
associates and employees of the firm which employs such consultant
or expert) retained by a party or its attorneys for purposes of this
litigation, but only to the extent necessary to further the interest of
the parties in this litigation, and only after such persons have
completed the certification attached hereto as Attachment A,
Acknowledgment of Understanding and Agreement to be Bound;

4. the Court and its personnel, including, but not limited to, stenographic
reporters regularly employed by the Court and stenographic
reporters not regularly employed by the Court who are engaged by
the Court or the parties during the litigation of this action;

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5. the authors and the original recipients of the documents, provided
that the documents are disclosed in the presence of counsel
either in preparation for a deposition or a hearing/trial at which
the author or original recipient will testify or during a deposition
or hearing/trial at which the author or original recipient is
testifying; and also provided that no copies of any such
documents are retained by the author or original recipient.

6. any court reporter or videographer reporting a deposition;

ie employees of copy services, microfilming or database services, trial
support firms, and/or translators who are engaged by the parties
during the litigation of this action;

8. any other person agreed to in writing by the parties.

Prior to being shown any documents produced by another party marked “ATTORNEYS’
EYES ONLY — SUBJECT TO PROTECTIVE ORDER,” any person listed under paragraph
6(c)(8) shall be advised that the confidential information is being disclosed pursuant to
and subject to the terms of this Protective Order.

i: Inadvertent Production. Inadvertent production of any document or
information with a Confidentiality Designation shall be governed by Eed. R. Evid. 502.
Pursuant to subsections (d) and (e) of that Rule, the parties agree to, and the Court
orders, protection of Protected Information against claims of waiver (including as against
third parties and in other Federal and State proceedings) in the event such information is
produced during the course of the Litigation, whether pursuant to a Court order, a parties’
discovery request, or informal production, as follows:

a. the production of documents or electronically stored information (“ESI”)

(including, without limitation, metadata) subject to a legally recognized claim of

privilege or other protection from production or other disclosure (collectively,

“Protected Information’), including without limitation the attorney-client privilege

and work-product doctrine, shall in no way constitute the voluntary disclosure of
such Protected Information;

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b. the production of Protected Information shall not result in the waiver of any
privilege or protection associated with such Protected Information as to the
receiving party, or any third parties, and shall not result in any waiver of protection,
including subject matter waiver, of any kind;

C. if any document or ESI (including, without limitation, metadata) received by
a party is on its face clearly subject to a legally recognizable privilege, immunity,
or other right not to produce such information, the Receiving Party will promptly
notify the Producing Entity in writing that it has discovered Protected Information,
identify the Protected Information by Bates Number range, and return or sequester
such Protected Information until the Producing Entity confirms whether it does
indeed assert any privilege protecting this information. Once the Producing Entity
asserts privilege over such Protected Information (as described in Subparagraph
(e) below), the Receiving Party will return, sequester, or destroy all copies of such
Protected Information, along with any notes, abstracts or compilations of the
content thereof, within ten (10) business days of notice from the Producing Entity;

d. upon the request of the Producing Entity, the Receiving Party will promptly
disclose the names of any individuals who have read or have had access to the
Protected Information;

e. if the Producing Entity intends to assert a claim of privilege or other
protection over Protected Information identified by the receiving party, the
Producing Entity will, within ten (10) business days of receiving the Receiving
Party’s written notification, inform the Receiving Party of such intention in writing
and shall provide the Receiving Party with a log for such Protected Information that
is consistent with the requirements of the Federal Rules of Civil Procedure, setting
forth the basis for the claim of privilege, immunity or basis for non-disclosure, and
in the event, if any portion of the Protected Information does not contain privileged
or protected information, the Producing Entity shall also provide to the Receiving
Party a redacted copy of the Protected Information that omits the information that
the Producing Entity believes is subject to a claim of privilege, immunity or other
protection;

f. if, during the course of the litigation, a party determines it has produced
Protected Information, the Producing Entity may notify the Receiving Party of such
production in writing. The Producing Entity’s written notice must identify the
Protected Information by Bates Number range, the privilege or protection claimed,
and the basis for the assertion of the privilege and shall provide the receiving party
with a log for such Protected Information that is consistent with the requirements
of the Federal Rules of Civil Procedure, setting forth the basis for the claim of
privilege, immunity or basis for non-disclosure, and in the event any portion of the
Protected Information does not contain privileged or protected information, the
Producing Entity shall also provide to the receiving party a redacted copy of the
Protected Information that omits the information that the Producing Entity believes
is subject to a claim of privilege, immunity or other protection. The Producing Entity

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must also demand the return of the Protected Information. After receiving such
written notification, the Receiving Party must, within ten (10) business days of
receiving the written notification, return, sequester, or destroy the specified
Protected Information and any copies, along with any notes, abstracts or
compilations of the content thereof;

g. a Receiving Party’s return, sequestration, or destruction of such Protected
Information as provided in the Subparagraphs above will not act as a waiver of the
Receiving Party’s right to move for the production of the returned, sequestered, or
destroyed Protected Information on grounds that the Protected Information is not
in fact subject to a viable claim of privilege or other protection. However, the
Receiving Party is prohibited and estopped from arguing that the Producing
Entity’s production of the Protected Information in this matter acts as a waiver of
applicable privileges or protections, that the disclosure of the Protected Information
by the Producing Entity was not inadvertent, that the Producing Entity did not take
reasonable steps to prevent the disclosure of the Protected Information, or that the
Producing Entity did not take reasonable steps to rectify such disclosure; and

h. nothing contained herein is intended to or shall limit a Producing Entity’s
right to conduct a review of documents or ESI (including, without limitation,
metadata), for relevance, responsiveness, and/or the segregation of privileged
and/or protected information before such information is produced to the Receiving
Party;

i. prior to production to another party, all copies, electronic images,
duplicates, extracts, summaries, or descriptions (collectively “copies”) of
documents marked with a Confidentiality Designation under this Order, or in any
individual portion of such a document, shall be affixed with the same Confidentiality
Designation if it does not already appear on the copy. All such copies shall
thereafter be entitled to the protection of this Order. The term “copies” shall not
include indices, electronic databases, or lists of documents provided these indices,
electronic databases, or lists do not contain substantial portions or images of the
text of confidential documents or otherwise disclose the substance of the
confidential information contained in those documents.

8. Filing Materials Containing Information With A Confidentiality
Designation. In the event a party seeks to file with the Court any confidential information
subject to protection under this Order, that party must take appropriate action to ensure
that the document receives proper protection from public disclosure, including: (a) filing a
redacted document with the consent of the party who designated the document as

confidential; (b) where appropriate (e.g., in relation to discovery and evidentiary motions),

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submitting the document solely for in camera review; or (c) when the preceding measures
are inadequate, seeking permission to file the document under seal by filing a motion for
leave to file under seal.

Any motion to file a document subject to this Order under seal must meet the Sixth
Circuit’s standard set forth in Shane Group, Inc. v. Blue Cross Blue Shield of Michigan,

25 _F, 2 (6th Cir. 2016). The burden of demonstrating the need for and
appropriateness of a sealing order is borne by the moving party, and requires the moving
party to analyze in detail, document by document, the propriety of secrecy, providing
reasons and legal citations. Regardless of whether the parties agree, it remains the
Court’s independent obligation to determine whether a seal is appropriate for any given
document or portion thereof. Any proposed sealing, even when compelling reasons exist,
must be narrowly tailored to serve the compelling reasons.

When a party to this Order seeks to file documents which it believes may warrant
sealing, but is not the party who may be prejudiced by the document or documents
becoming part of the public record, the filing party shall provide the potentially-prejudiced
party or parties, or any potentially-prejudiced third party or parties, with written notification
of its intent to file such documents at least (14) fourteen days before doing so. After
being provided such notice, the potentially harmed party or parties will then have (7)
seven days to file with the Court a motion for sealing. The Court will rule on the motion
as promptly as possible.

9. Attorneys Allowed To Provide Advice. Nothing in this Order shall bar or
otherwise restrict any attorney for any party from rendering advice to his or her client with

respect to this case or from doing anything necessary to prosecute or defend this case

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and furthering the interests of his or her client, except for the disclosure of the Confidential
Information as proscribed in this Order.

10. Excluding Others From Access. Whenever information bearing a
Confidentiality Designation pursuant to this Protective Order is to be discussed at a
deposition, the person or entity that designated the information may exclude from the
room any person, other than persons designated in Paragraph 6 of this Order, as
appropriate, for that portion of the deposition.

11. No Voluntary Disclosure To Other Entities. The parties or anyone acting
on their behalf may not voluntarily disclose any Confidential Information to any state or
federal law enforcement or regulatory agency, or any employee thereof, except in this
litigation as set forth in Paragraph 6 of this Order or as otherwise commanded by law or
provided in this Order. Nothing in this Order shall prevent a party from providing
information in its possession in response to a valid order or subpoena from a law
enforcement or regulatory agency requiring the production of such information, except
that, prior to such production, the party producing the information shall provide as much
advance notice as possible to the person or entity that designated the material as
confidential to facilitate that party’s efforts to preserve the confidentiality of the material,
if warranted.

12. Disputes As To Designations. Each party has the right to dispute the
Confidentiality Designation asserted by any other party or subpoenaed person or entity
in accordance with this Protective Order. If a party believes that any documents or
materials have been inappropriately designated by another party or subpoenaed party,

that party shall confer with counsel for the person or entity that designated the documents

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or materials. As part of that conferral, the designating person or entity must assess
whether redaction is a viable alternative to complete non-disclosure. If any party
challenges the Confidentiality Designation of any document or information, the burden to
properly maintain the designation shall, at all times, remain with the person or entity that
made the designation to show that said document or information should remain protected
pursuant to Federal Civil Rule 26(c). In the event of disagreement, then the designating
person or entity shall file a motion pursuant to Federal Civil Rule 26(c). A party who
disagrees with the designation must nevertheless abide by that designation until the
matter is resolved by agreement of the parties or by order of the Court.

13. Information Security Protections. Any person in possession of
Confidential Information received from another person or entity in connection with this
Action shall maintain an information security program that includes reasonable
administrative, technical, and physical safeguards designed to protect the security and
confidentiality of such Confidential Information, protect against any reasonably
anticipated threats or hazards to the security of such Confidential Information, and protect
against unauthorized access to or use of such Confidential Information.

If a Receiving Party discovers a breach of security, including any actual or
suspected unauthorized access, to Confidential Information subject to this Order, they
shall: (1) notify the person or entity who designated the materials under the terms of this
Order of such breach; (2) investigate and take reasonable efforts to remediate the effects
of the breach; and (3) provide sufficient information about the breach that the Producing
Entity can reasonably ascertain the size and scope of the breach. The Receiving Party

agrees to cooperate with the Producing Entity or law enforcement in investigating any

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such security incident. In any event, the Receiving Party shall promptly take all necessary
and appropriate corrective action to terminate the unauthorized access.

14. All Trials Open To Public. All trials, and certain pretrial proceedings and
hearings, are open to the public (collectively a “Public Hearing” or “Public Hearings’).
Absent further order of the Court, there will be no restrictions on any Party’s ability to the
use during a Public Hearing any document or information that has marked with a
Confidentiality Designation or documents or information derived therefrom that would
disclose such confidential information. However, if a party intends to present at a Public
Hearing any document or information that has been so designated, the party intending to
present such document or information shall provide advance notice to the person or entity
that made the Confidentiality Designation at least (5) five days before the Public Hearing
by identifying the documents or information at issue as specifically as possible (i.e., by
Bates Number, page range, deposition transcript line, etc.) without divulging the actual
documents or information. Any person may then seek appropriate relief from the Court
regarding restrictions on the use of such documents or information at trial, or sealing of
the courtroom, if appropriate.

15. No Waiver Of Right To Object. This Order does not limit the right of any
party to object to the scope of discovery in the above-captioned action.

16. No Determination Of Admissibility. This Order does not constitute a
determination of the admissibility or evidentiary foundation for the documents or a waiver
of any party’s objections thereto.

17. No Admissions. Designation by either party of information or documents

under the terms of this Order, or failure to so designate, will not constitute an admission

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that information or documents are or are not confidential or trade secrets. Neither party
may introduce into evidence in any proceeding between the parties, other than a motion
to determine whether the Protective Order covers the information or documents in
dispute, the fact that the other party designated or failed to designate information or
documents under this Order.

18. No Prior Judicial Determination. This Order is based on _ the
representations and agreements of the parties and is entered for the purpose of
facilitating discovery in this action. Nothing in this Order shall be construed or presented
as a judicial determination that any documents or information as to which counsel or the
parties made a Confidentiality Designation is in fact subject to protection under Rule 26(c)
of the Federal Rules of Civil Procedure or otherwise until such time as the Court may rule
on a specific document or issue.

19. Order Subject To Modification. This Order shall be subject to modification
by the Court on its own motion or on motion of a party or any other person with standing
concerning the subject matter.

20. Parties May Consent To Disclosure. Nothing shall prevent disclosure
beyond the terms of this Order if all parties consent to such disclosure, or if the Court,
after notice to all affected parties, permits such disclosure. Specifically, if and to the extent
any party wishes to disclose any Confidential Information beyond the terms of this Order,
that party shall provide all other parties with reasonable notice in writing of its request to
so disclose the materials. If the parties cannot resolve their disagreement with respect to
the disclosure of any Confidential Information, then a party may petition the Court for a

determination of these issues. In addition, any interested member of the public may also

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challenge the designation of any material as confidential, pursuant to the terms of this
paragraph.

21. Return Of Materials Upon Termination Of Litigation. Upon the written
request and expense of the Producing Entity, within 30 days after the entry of a final
judgment no longer subject to appeal on the merits of this case, or the execution of any
agreement between the parties to resolve amicably and settle this case, the parties and
any person authorized by this Protective Order to receive confidential information shall
return to the Producing Entity, or destroy, all information and documents subject to this
Protective Order, unless the specific document or information has been offered into
evidence or filed without restriction as to disclosure. The party requesting the return of
materials shall pay the reasonable costs of responding to its request. The party returning
or destroying the documents or other information shall certify that it has not maintained
any copies of confidential information, except as permitted by this Order.

22. Counsel Allowed To Retain Copy Of Filings. Nothing in this Protective
Order shall prevent outside counsel for a party from maintaining in its files a copy of any
filings in the Action, including any such filings that incorporate or attach Confidential
Information. Moreover, an attorney may use his or her work product in subsequent
litigation provided that such use does not disclose any Confidential Information.

SO ORDERED.

Dated: /-‘i-2aj

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UNITED STATES DISTRICT JUDGE

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Approved:

s/ Bradley L. Gibson (per email authority
12.16.2020)

Bradley L. Gibson (0085196)

Brian G. Greivenkamp (0095918)
GIBSON LAW, LLC

9200 Montgomery Road, Suite 11A
Cincinnati, Ohio 45242

P: (513) 834-8254

F: (513) 834-8253
brad@gibsonemploymentlaw.com
brian@gibsonemploymentlaw.com

Counsel for Plaintiff

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Approved:

s/ Timothy G. Pepper

Timothy G. Pepper (0071076)
Trial Attorney

Zachary S. Arnold (0096819)

TAFT STETTINIUS & HOLLISTER LLP

40 North Main Street, Suite 1700

Dayton, Ohio 45423

P: (937) 641-1740/641-2054

F: (937) 228-2816

pepper@taftlaw.com

zarnold@taftlaw.com

Counsel for Defendants
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EXHIBIT A

The undersigned hereby acknowledges that [he/she] has read the Protective
Order dated in the above-captioned action and attached hereto,
understands the terms thereof, and agrees to be bound by its terms. The undersigned
submits to the jurisdiction of the United States District Court for the Southern District of
Ohio in matters relating to the Protective Order and understands that the terms of the
Protective Order obligate [him/her] to use documents designated “CONFIDENTIAL —
SUBJECT TO PROTECTIVE ORDER’ or “ATTORNEYS’ EYE ONLY — SUBJECT TO
PROTECTIVE ORDER’ in accordance with the Order, solely for the purpose of the
above-captioned action, and not to disclose any such documents or information derived
directly therefrom to any other person, firm, or concern.

The undersigned acknowledges that violation of the Protective Order may result in
penalties for contempt of court.

Name:

 

Job Title:

 

Employer:

 

Business Address:

 

 

 

 

Date:

 

Signature

LY

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